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A PATRIOT'S HISTORY OF THE UNITED STATES:| June 7, 2005

What contemporary history of America highlights that just seven percent of Africans
brought to the New World were enslaved in the United States? Or that as Standard
Oil's prices dropped their market share rose to a monopoly level? Or that Joseph
McCarthy underestimated the scope of Soviet infiltration of the U.S. government?
None that I know of, other than Larry Schweikart and Michael Allen's A Patriot's
History of the United States, which I review on FrontPageMag.com.

PERMALINE | COMMENTS (3) | TRACKBACK (0)

DEEP BLUE CAMPUSES:| May 3, 2005

Employees at each of U.S. News and World Report's top twenty-five national
universities overwhelmingly favored John Kerry over George W. Bush in the 2004
election cycle. Giving ratios of employees at selected schools totaled 9-1 at Duke, 20-1
at Yale, 43-1 at MIT, 302-1 at Princeton, and infinity at Dartmouth, where not a single
employee appeared on Federal Election Commission reports as donating to the Bush
campaign. I've just completed a major study called Deep Blue Campuses (read it here)
for the Leadership Institute's Campus Leadership Program. On campus, the talk is
diversity. The reality is conformity.

PERMALINK | COMMENTS (11) | TRACKBACK (0)
KERRY AUTHORS SENATE RESOLUTION HONORING
COMMUNIST:| March 2, 2005

W.E.B. Du Bois declared in 1920, “Absolutely segregate the races and sections of the
world.” Thirteen years later, the NAACP would eject him from the organization he
helped found because of such statements as "I fight Segregation with Segregation.”
After traveling to Nazi Germany in 1937, he returned to America with largely glowing
reports, penning an article called "The German Case Against the Jews" that excused
anti-Semitism in the Third Reich by labeling it "a reasoned prejudice.” At mid-century
Du Bois propagandized that North Korea was attacked to launch the Korean War, that
“Harry Truman ranks with Adolf Hitler as one of the greatest killers of our day," and
that Stalin was a "great" and "courageous" man. In the early 1960s, Du Bois renounced
his American citizenship and formally joined the Communist Party, declaring
communism "the only way of human life." Why, in 2005, would John Kerry push the
United States Senate to honor this man? Read my Human Events article that broke
this story today to learn more about the extremist John Kerry seeks to honor.

PERMALINE | COMMENTS (30) | TRACKBACK (1)

BUSH WON. GET OVERTT,:| January 21, 2005

Did William Rehnquist swear in the wrong man on Inauguration Day? That's what
many protesting the start of George W. Bush's second term believe, Pre-election taunts
of “accidental president" and "re-defeat Bush" allowed Bush-haters to benefit from the
illusion that they represented the majority. November 2, one might think, would have
shattered that illusion. It didn't. In my piece on National Review Online, I discuss the

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books by
Dan Flynn

INTELLECTUAL

MORONS

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HOW LOEOLOGY MAKES
SMART PEOPLE
FALL FOR
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DAHIEL J. FLY

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Left's dismissal of the painful truth in favor of a comforting myth.

PERMALINK | COMMENTS {1D} | TrackBack (0)

ONE-PARTY DOMINANCE ON CAMPUS BRINGS ASSAULTS ON

FREE SPEECH:| December 10, 2004

In the 1960s, Herbert Marcuse argued that true tolerance meant censoring the Right,
while Noam Chomsky preached that to engage in debate with the Right on certain
issues was to lose one’s humanity. Ideas have consequences, The post-sixties Left
currently dominating the campuses has put the words of these intellectual morons into
action in a recent round of newspaper thefts and acts of intimidation, Read about the
current state of free speech in academia, and what can be done to defend against
campus assaults on free speech, in my article on NewsMax today.

PERMALINK | COMMENTS (4) | TRACKBACK (0)

ACADEMIC SNOBS BAN THE MILITARY:| December 8, 2004

The military is one of the most popular institutions in America but one of the least
popular on campus. This is a direct consequence of stacking faculties with people
politically alienated from the society that surrounds them. If the campus repulsion to
the armed forces seems so foreign to us it is because we are so foreign to the people
teaching at these instititions. Read my NewsMax article detailing how two of the
institutions most corrupted by the Left--academia and the courts--have combined to
kick military recruiters off of law school campuses.

PERMALINK | COMMENTS (21) | TRACKBACK (0)

JATLBIRD INTELLECTUALS:

December 7, 2004

Hamilton College has hired Susan Rosenberg, an advocate of "collective violence"
against the U.S. government, to teach a writing class next semester. Caught with
several hundred pounds of explosives in 1984, Rosenberg was serving a fifty-eight year
prison sentence until President Clinton pardoned her on his last day in office. The
hiring of the unrepentant Rosenberg, unfortunately, is not an isolated example of a
college bringing on board a faculty member largely because of the faculty member's
criminal past. My NewsMax article explains why setting off bombs, aiding terrorists,
kidnapping, and even murder are no obstacle to steady employment at a number of
U.S. academic institutions,

PERMALINK | COMMENTS {1} | TRACKBACK {0}

CINEMATIC KINSEY CLASHES WITH THE REAL KINSEY:|
December 6, 2004

The biopic Kinsey fails both as biography and motion picture. Against a backdrop of
strawmen and stereotypes, Bill Condon’s Kinsey emerges to slay ignorance, The real
Kinsey did more to perpetuate sexual ignorance than any other figure of the past
century. Perhaps in tribute, this fawning movie adopts Alfred Kinsey's dishonesty in
telling the Indiana University professor's story. "Artistic license" whitewashes Kinsey's
extreme masochism, tolerance of pedophilia, and stacking his sample group with
prison inmates and homosexuals, but it fails to make the movie interesting or
entertaining. Read what the film starring Liam Neeson leaves out in my review of
Kinsey on Accuracy in Media's site.

FERMALINK | COMMENTS (2) | TRACKBACK (0)

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BLUE ISLANDS IN A RED SEA: |

The U.S. map is red but America's campuses are deep blue. I examined Federal
Election Commission records and found donations to John Kerry wildly outpaced
donations to George W. Bush. My amateur inspection found that Harvard employees
gave 32 times more money to Kerry than to Bush. The disparity was 270-1 at Princeton,
32-1 at Comell, 22-1 at Penn, 11-1 at Yale, 7-1 at Brown, and 5-1 at Columbia. Get this:
because I could find no Dartmouth employee that had donated to President Bush's
reelection efforts, John Kerry received an infinite amount more from the faculty and
administrators at the Hanover, New Hampshire school than his opponent. I detail my
findings, and why a politically alienated academia is bad for education, on
NewsMax.com,

PERMALINK | COMMENTS (9)

THE REAL DR. KINSEY:| November 17, 2004

Alfred Kinsey circumcised himself with a pocketknife, compulsively pierced his
genitals, and partook in peculiar activities involving a noose and his groin. But the
Indiana University professor's unsettling personal behavior is not why his mid-century
reports on human sexuality are so controversial today. My piece on TownHall.com
explains why Kinsey's dishonest scholarship, rather than the bedroom behavior that
motivated that scholarship, serves as the primary basis for objecting to Kinsey and the
hagiographic film by the same name that hits theaters across the nation on Friday.

PERMALINK | COMMENTS (8)

FLYING ELIND: | November 15, 2004

On 9/11, nineteen young men sharing the same Islamic faith and Arab heritage
hijacked four planes and killed nearly 3,000 people, To prevent future hijackings, the
federal government demands that its airport security forget past hijackings.
Specifically, government rules dictate that airport screeners treat elderly black women
the same as twenty-five year old Muslim men. My review of Michael Smerconish’s
Flying Blind wonders if the government's indulgence of political correctness in favor of
some passengers’ convenience comes at the expense of other passengers’ safety,

PERMALIN® | COMMENTS (1)

THE BUSH-HATERS:| October 26, 2004

If there's one thing that short-circuits the mental wiring of leftists, it is the name
George W. Bush. For the last four year's, George W. Bush's enemies, by their
immoderation, have succeeded driving Americans into the president's: arms. On
November 2, the Bush-haters have the opportunity to turn passion into votes. My
article on TownHall.com explores the strange world of the Bush-haters, wondering if
the president could have been handed a better set of enemies had he the opportunity to
invent his opposition.

PERMALINK | COMMENTS (1))

2004

English animal-rights leaders have given their imprimatur te protests targeting the
children of biomedical scientists. Where did they get such ideas? One inspiration for
animal-rights extremism, my article on TownHall explains, is Princeton University
Professor Peter Singer, who gives his okay to parents killing their newborns but objects
to schoolchildren lunching on turkey sandwiches.

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GLORIOUS ENDS DON'T JUSTIFY VILE MEANS:| September 30,
2004

The most dangerous delusion is the idea that man is perfectible. The goal is
unattainable, but the crimes committed to achieve it are very real. The belief in heaven
on earth led to the horrors of the gas chamber, the gulag, and the Killing fields. Today,
it leads to theocratic screwballs randomly beheading Westerners in hopes of creating
Allah's earthly kingdom. If you really believe that the ideology you follow will bring

utopia, ] write today on TownHall, then all is justified in its advancement. That's scary.
PERMALINK | COMMENTS (51

HONORING STALIN'S CHEERLEADERS: | September 27, 2004

Communism is dead in Bucharest, Phnom Penh, and Managua. It lives in Madison,
Berkeley, and Chapel Hill. My article at NewsMax.com explains how American colleges
and universities are honoring prominent Communists by naming scholarships,
academic chairs, and buildings in their honor.

PERMALINK | COMMENTS (2) | TRACKBacK (0)

ACADEMICS DEFEND PEDOPHILIA:| September 23, 2004

Are pedophiles a persecuted group deserving society's tolerance and protection? A
small, but growing, number of college professors say yes. Pro-pedophile academics are
attempting to give their vile beliefs a scientific air by invoking famed researcher Alfred
Kinsey as the source of their "scholarship." But as I discuss in my article on NewsMax,
Kinsey, like his present-day admirers, is a frightening example of how much harm
intellectual morons can unleash witha lie.

PERMALINK | COMMENTS (3) | TRACKBACK (0)

RATHERGATE HAS ONLY JUST BEGUN:| September 22, 2004

Dan Rather still doesn't believe the Texas Air National Guard documents disparaging
President Bush that he broadcast are forgeries. So why, and to whom, did he
apologize? Rather's lame act of contrition Monday night didn't kill the Rathergate
story. My NewsMax article shows that it’s only just begun,

PERMALINK | COMMENTS (7) | TRACKBACK (0)

ACADEMIA IS AN INTELLECTUAL GHETTO:| September 21, 2004

Employees of America's oldest college, Harvard, have given 97 percent of their
donations this presidential election cyele to the Kerry campaign and about three
percent to the reelection effort of George W. Bush. At America’s second oldest college,
William & Mary, employees have given 100 percent of their donations to John Kerry.
The uniform support of John Kerry by college professors and administrators, as my
article on NewsMax demonstrates, evokes the lopsided vote tallies in Castro's Cuba or
Hussein's Iraq. Folks, where's the diversity?

PERMALINK | COMMENTS (21) | TRACKBACK (0)

PSEUDO-SCHOLARS VERSUS REAL SCHOLARS; |

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